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11                               UNITED STATES DISTRICT COURT
12                             NORTHERN DISTRICT OF CALIFORNIA
13                                 SAN FRANCISCO DIVISION
14
15   UNITED STATES OF AMERICA,                 )   No.: CR 05-00465-JSW
                                               )
16           Plaintiff,                        )
                                               )   [PROPOSED] ORDER EXCLUDING
17      v.                                     )   TIME UNDER THE SPEEDY TRIAL ACT
                                               )   AS TO DEFENDANT PETERS
18   ZIBU “BOB” GAO,                           )
     ZHICHENG ZENG,                            )
19   LI HUA MA,                                )
        aka Lin,                               )
20      aka Lene Lam,                          )
     XIANG ZHUGE,                              )
21   RALPH FRANK PETERS,                       )
        aka Peter,                             )
22      aka Patrick, and                       )
     LIWEI TAN KUO,                            )
23      aka Grace Tan,                         )
        aka Li Wei Tan,                        )
24      aka Tan Kuo Liwei,                     )
        aka Grace Kuo,                         )
25      aka Li Wei Kuo,                        )
                                               )
26           Defendants.                       )
                                               )
27
28
     [PROPOSED] ORD. EXCLUDING TIME
     UNDER THE STA AS TO DEFT. PETERS
     No.: CR 05-00465-JSW
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1           This matter came on the calendar of the Honorable James Larson on October 7, 2005
2    following the defendant’s initial appearance in this district on October 3, 2005. At the parties’
3    request, the Court continued the matter until November 17, 2005, which was the date previously
4    set before Judge White for the co-defendants (with the exception of defendant Kuo, who has not
5    yet appeared in this district). The parties requested an exclusion of time under the Speedy Trial
6    Act on two bases.
7           First, the parties requested an exclusion of time based upon the need for effective
8    preparation of counsel. See 18 U.S.C. § 3161(h)(8)(A) and (B)(iv). Defense counsel Juliana
9    Drous is new to this case and will need ample time to review the voluminous discovery. While
10   most of the discovery has been turned over, there is some outstanding discovery remaining.
11   Much of that discovery needs to be translated into English, which may take up to one month.
12          Second, defendant Kuo has not yet made an appearance in this district. She was ordered
13   removed from the Central District of California and is en route in the custody of the United
14   States Marshals. Time is excludable as delay resulting from the removal of a defendant from one
15   district to another. See 18 U.S.C. § 3161(h)(1)(G).
16          Therefore, the parties are requesting an exclusion of time under the Speedy Trial Act.
17   The parties agree that the time from October 7 through November 17, 2005 should be excluded
18   in computing the time within which trial must commence. See 18 U.S.C. §§ 3161(h)(1)(G),
19   3161(h)(8)(A) and (B)(iv).
20          Accordingly, the Court HEREBY ORDERS that the time from October 7 through
21   November 17, 2005 is excluded under the Speedy Trial Act, 18 U.S.C. § 3161.
22          The Court finds that the delay resulting from the removal of defendant Kuo from the
23   Central District of California to this district is excludable. See 18 U.S.C. § 3161(h)(1)(G).
24          The Court finds that the failure to grant the requested exclusion would deny the defendant
25   reasonable time necessary for effective preparation, taking into account the exercise of due
26   diligence. See 18 U.S.C. § 3161(h)(8)(B)(iv).
27          The Court finds that the ends of justice served by granting the requested exclusion
28
     [PROPOSED] ORD. EXCLUDING TIME
     UNDER THE STA AS TO DEFT. PETERS
     No.: CR 05-00465-JSW                             2
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1    outweigh the best interest of the public and the defendant in a speedy trial and in the prompt
2    disposition of criminal cases. See 18 U.S.C. § 3161(h)(8)(A). The Court therefore concludes
3    that this exclusion of time should be made under 18 U.S.C. § 3161(h)(8)(A).
                                                                         S DISTRICT
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5    SO ORDERED.




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                                                                         ORDER




                                                           UNIT
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6    DATED:       October 21, 2005                            IT
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                                                                                                  R NIA
                                                   HONORABLE JAMES LARSON
7                                                                       J. Vadas
                                                   CHIEF UNITED STATESorMAGISTRATE JUDGE




                                                            NO
                                                                              and
                                                                      Judge N




                                                                                                  FO
8                                                  Nandor J. Vadas




                                                             RT




                                                                                              LI
                                                   U.S. Magistrate
                                                               E   Judge




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9    Approved as to form:                                                 D IS T IC T O
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10
11    /s/ Juliana Drous
     JULIANA DROUS
12   Counsel for Defendant PETERS
13
     /s/ Monica Fernandez
14   MONICA FERNANDEZ
     Assistant United States Attorney
15   Counsel for the United States
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     [PROPOSED] ORD. EXCLUDING TIME
     UNDER THE STA AS TO DEFT. PETERS
     No.: CR 05-00465-JSW                             3
